Case: 1:18-Cv-03424 Document #: 85-21 Filed: 02/05/19 Page 1 of 50 Page|D #:2735

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

MAP FlND|NGS
LEGEND
FAC|LITY NAME
FAC|L[I’Y ADDRESS, CITY, ST, ZlP EDR SFTE |D NUMBER
. » . » . ASTM 2600 Record Sources found in this report. Each
D'r°°t'°" D'sta"°° Rang° (D'Sta"°° feet / m'|°s) database searched has been assigned to one or more
V MAP |D# _ _ categories. For detailed information about categorization,
R°lat“'e E|evat'°" Feet Above Sea L°Ve| see the section of the report Records Searched and
Currency.
Worksheet:
Comments:
Comments may be added on the online Vapor Encroachment Worksheet.
DATABASE ACRONYM: Applicable categories (A hoverbox with database description).
U.S. ARMY CORP OF ENG|NEERS
JACKSON PARK, HAYES AVENUE, CH|CAGO, lL, 60631 51°5537756
S <1/10 (0 ft_ / 0 mi_) State and tribal leaking storage tank lists
V 1
1 ft. Lower E|evation 588 ft. Above Sea Level
Worksheet:

LUST: State and tribal leaking storage tank lists

lncident Num: 20020872

lL EPA ld: 0316415028

Product: Fuel Oil

IEMA Date: 06/18/2002

Project Manager: NOT ASS|GNED

Project Manager Phone: Not Reported

Email: Not Reported

PRP Name: U.S. An'ny Corp of Engineers
PRP Contact: Cynthia A. Ries

PRP Address: 600 Dr. Martin Luther King Place
PRP City,St,Zip: Louisvi||e, KY 40202-2232
PRP Phone: 5023156347

Site Classiflcation: Not Reported

Section 57.5(g) Letter. 732

Date Section 57.5(g) Letter: Not Reported

Non LUST Determination Letter: Not Reported

20 Report Received: 07/08/2002

45 Report Received: 08/01/2002

NFA/NFR Letter: 11I17/2003

NFR Date Recorded: 01/05/2004

incident Num: 20021756

IL EPA ld: 0316415028

Product: Other Petro

TC Page 11

Case: 1:18-Cv-03424 Document #: 85-21 Filed: 02/05/19 Page 2 of 50 Page|D #:2736

 

 

MAP FlND|NGS

 

 

 

U.S. ARMY CORP OF ENG|NEERS, JACKSON PARK, HAYES AVENUE, CH|CAGO, lL 60631 (Contlnued)

lEMA Date: 12/06/2002

Project Manager: Not Reported

Project Manager Phone: Not Reported

Emai|: Not Reported

PRP Narne: U.S. Arrny Corp of Engineers
PRP Contact: Cindy Ries

PRP Address: 600 Martin Luther King P|aoe, Rm. 921
PRP City,St,Zip: Louisvi||e, KY 40202-2232
PRP Phone: 5023156347

Site Classihcation: Not Reported

Section 57.5(g) Letter: P.A.

Date Section 57.5(g) Letter. Not Reported

Non LUST Determination Letter: 2005-01-27

20 Report Received: 12/19/2002

45 Report Received: 01/22/2003

NFA/NFR Letter: Not Reported

NFR Date Recorded: Not Reported

TC Page 12

Case: 1:18-Cv-03424 Document #: 85-21 Filed: 02/05/19 Page 3 of 50 Page|D #:2737

 

 

 

 

 

 

 

 

 

 

 

 

 

MAP FlND|NGS
PLA|SANCE CLNRS
6004 S STONY lSLAND AVEl CH|CAGO, lL, 1°°9134241
NNW <1/10 (0 ft_ 10 mi_) Historica| Dry Cleaners
A 2 1 ft. Higher Elevation 590 lt. Above Sea Level
Worksheet:

EDR Historica| Cleaners: Historica| Dry Cleaners

Name: PLA|SANCE CLNRS
Year: 1981
Type: CLEANERS

TC Page 13

Case: 1:18-Cv-03424 Document #: 85-21 Filed: 02/05/19 Page 4 of 50 Page|D #:2738

 

 

 

 

 

 

 

 

 

 

 

 

 

MAP FlND|NGS
WH|TE CLEANERS
1556 E 63D, CH|CAGO, lL, 1°°9212225
ssw <1/10 (201 ft. / 0.038 mi.) H‘$t°"°a' D'y C'°a"°'$
A A3
2 ft. Higher Elevation 591 lt. Above Sea Level
Worksheet:
EDR Historica| Cleaners: Historica| Dry Cleaners
Name: WH|TE CLEANERS
Year: 1923
Type: CLEANERS AND DYERS CONTD

TC Page 14

Case: 1:18-Cv-03424 Document #: 85-21 Filed: 02/05/19 Page 5 of 50 Page|D #:2739

 

 

 

MAP FlND|NGS

 

 

 

PARKLAND HAND LAUNDRY
1554 E 63D, CH|CAGO, lL,

1009200168

 

SSW <1/10

(213 ft. / 0.04 mi.)

 

A A4

 

 

2 ft. Higher Elevation

591 lt. Above Sea Level

 

Historica| Dry Cleaners

 

 

Worksheet:

EDR Historica| Cleaners: Historica| Dry Cleaners

Name: PARKLAND HAND LAUNDRY
Year: 1928
Type: LAUNDR|ES HAND

TC Page 15

Case: 1:18-Cv-03424 Document #: 85-21 Filed: 02/05/19 Page 6 of 50 Page|D #:2740

 

 

 

 

 

 

 

 

 

 

 

 

 

MAP FlND|NGS
MOY GERGE
1549 E 63D AND, CH|CAGOl |L, 1°°9202723
ssw <1/10 (248 ft. / 0.047 mi.) H‘$t°"°a' D'y C'°a"°'$
A A5
2 ft. Higher Elevation 591 lt. Above Sea Level
Worksheet:
EDR Historica| Cleaners: Historica| Dry Cleaners
Name: MOV GERGE
Year: 1923
Type: LAUNDR|ES (CH|NESE)
Name: MOV GEO H
Year: 1928
Type: LAUNDR|ES CH|NESE

TC Page 16

Case: 1:18-Cv-03424 Document #: 85-21 Filed: 02/05/19 Page 7 of 50 Page|D #:2741

 

 

 

MAP FlND|NGS

 

 

 

HYDE PARK LAUNDRY CO
1545 E 63D, CH|CAGO, lL,

1009198733

 

AA6

 

SSW <1/10

(270 ft. / 0.051 mi.)

 

 

3 ft. Higher Elevation

592 lt. Above Sea Level

 

Historica| Dry Cleaners

 

 

Worksheet:

EDR Historica| Cleaners: Historica| Dry Cleaners

Name:
Year:
Type:

HYDE PARK LAUNDRY CO

LAUNDR|ES STEAM

TC Page 17

Case: 1:18-Cv-03424 Document #: 85-21 Filed: 02/05/19 Page 8 of 50 Page|D #:2742

 

 

 

 

 

 

 

 

 

 

 

 

 

MAP FlND|NGS
LANS PH|L|P M
1535 E 63D, CH|CAGO, lL, 1°°9211064
ssw <1/10 (328 ft. / 0.062 mi.) H‘$t°"°a' D'y C'°a"°'$
A A7 3 ft. Higher Elevation 592 lt. Above Sea Level
Worksheet:

EDR Historica| Cleaners: Historica| Dry Cleaners

Name:
Year:
Type:

LANS PHIL|P M
1923
CLEANERS ANTD DYERS CONTD

TC Page 18

Case: 1:18-Cv-03424 Document #: 85-21 Filed: 02/05/19 Page 9 of 50 Page|D #:2743

 

 

 

 

 

 

 

 

 

 

 

 

 

MAP FlND|NGS
TOSTESEN THEODORE
1521 E 63D, CH|CAGO, lL, 1°°9211104
ssw <1/10 (332 ft. / 0.063 mi.) H‘$t°"°a' D'y C'°a"°'$
A A8
3 ft. Higher Elevation 592 lt. Above Sea Level
Worksheet:
EDR Historica| Cleaners: Historica| Dry Cleaners
Name: TOSTESEN THEODORE
Year: 1923
Type: CLEANERS AND DYERS CONTD

TC Page 19

Case: 1:18-Cv-03424 Document #: 85-21 Filed: 02/05/19 Page 10 of 50 Page|D #:2744

 

 

 

MAP FlND|NGS

 

 

 

NEW TOWER GARAGE
6341 HARPER AV, CH|CAGO, lLl

1009104668

 

SSW <1/10

(soa ft. / 0.096 mi.)

 

AB9

 

 

3 ft. Higher Elevation

592 lt. Above Sea Level

 

Historica| Gas Stations

 

 

Worksheet:

EDR Historical Auto Stations: Historical Gas Stations

Name: NEW TOWER GARAGE
Year: 1928
Type: AUTOMOBILE GARAGES

TC Page 20

Case: 1:18-Cv-03424 Document #: 85-21 Filed: 02/05/19 Page 11 of 50 Page|D #:2745

 

 

 

MAP FlND|NGS

 

 

 

JAMES HAND LAUNNDRY
6349 HARPER AV, CH|CAGO, lLl

1009201702

 

SSW1/10 -1/3

(553 ft. / 0.105 mi.)

 

AB10

 

 

3 ft. Higher Elevation

592 lt. Above Sea Level

 

Historica| Dry Cleaners

 

 

Worksheet:

EDR Historica| Cleaners: Historica| Dry Cleaners

Name: JAMES HAND LAUNNDRY
Year: 1928
Type: LAUNDR|ES HAND

TC Page 21

Case: 1:18-Cv-03424 Document #: 85-21 Filed: 02/05/19 Page 12 of 50 Page|D #:2746

 

 

 

MAP FlND|NGS

 

 

 

WONG GEO
1544 E 64TH, CH|CAGO, lL,

1009198298

 

SSW1/10 -1/3

(717 ft. / 0.136 mi.)

 

411

 

 

2 ft. Higher Elevation

591 lt. Above Sea Level

 

Historica| Dry Cleaners

 

 

Worksheet:

EDR Historica| Cleaners: Historica| Dry Cleaners

Name: WONG GEO
Year: 1928
Type: LAUNDR|ES CH|NESE

TC Page 22

Case: 1:18-Cv-03424 Document #: 85-21 Filed: 02/05/19 Page 13 of 50 Page|D #:2747

 

 

 

MAP FlND|NGS

 

 

 

WYNKELS HENRY
1447 E 60TH, CH|CAGO, lL,

1009114300

 

NW1/10 -1/3

(1002 ft. / 0.19 mi.)

 

AC12

 

 

2 ft. Higher Elevation

591 lt. Above Sea Level

 

Historica| Gas Stations

 

 

Worksheet:

EDR Historical Auto Stations: Historical Gas Stations

Name: WYNKELS HENRY
Year: 1923
Type: AUTOMOBILE REPAIR|NG

TC Page 23

Case: 1:18-Cv-03424 Document #: 85-21 Filed: 02/05/19 Page 14 of 50 Page|D #:2748

 

 

 

MAP FlND|NGS

 

 

 

MANN lDA
1447 E 60TH, CH|CAGO, lL,

1009201857

 

NW1/10 -1/3

(1002 ft. / 0.19 mi.)

 

AC13

 

 

2 ft. Higher Elevation

591 lt. Above Sea Level

 

Historica| Dry Cleaners

 

 

Worksheet:

EDR Historica| Cleaners: Historica| Dry Cleaners

Name: MANN lDA
Year: 1 928
Type: LAUNDR|ES HAND

TC Page 24

Case: 1:18-Cv-03424 Document #: 85-21 Filed: 02/05/19 Page 15 of 50 Page|D #:2749

 

 

 

 

 

 

 

 

 

 

 

 

 

MAP FlND|NGS
AlR COOLED MOTORS
6100 S BLACKSTONE AVEl CH|CAGO, lL, 1009075377
wNw 1/10 - 1/3 (1003 ft. / 0.19 mi.) H‘st°"°a' Gas S‘a"°"s
‘ 14 5 ft. Higher Elevation 594 R. Above Sea Level
Worksheet:

EDR Historical Auto Stations: Historica| Gas Stations

Name:
Year:
Type:

Name:
Year:
Address:

Name:
Year:
Address:

Name:
Year:
Address:

Name:
Year:
Address:

Name:
Vear:
Address:

Name:
Vear:
Address:

Name:
Year:
Address:

Name:
Year:
Address:

Name:
Year:
Address:

Name:
Year:
Address:

Name:
Year:
Address:

AlR COOLED MOTORS
2003
AUTOMOB|LE REPA|R AND SERV|CE

AlR COOLED MOTORS
1 999
6100 S BLACKSTONE AVE

AlR COOLED MOTORS
2000
6100 S BLACKSTONE AVE

AlR COOLED MOTORS
2001
6100 S BLACKSTONE AVE

AlR COOLED MOTORS
2003
6100 S BLACKSTONE AVE

AlR COOLED MOTORS
2004
6100 S BLACKSTONE AVE

AlR COOLED MOTORS
2005
6100 S BLACKSTONE AVE

AlR COOLED MOTORS
2006
6100 S BLACKSTONE AVE

AlR COOLED MOTORS
2007
6100 S BLACKSTONE AVE

AlR COOLED MOTORS
2008
6100 S BLACKSTONE AVE

AlR COOLED MOTORS
2009
6100 S BLACKSTONE AVE

EXPER|MENTAL STAT|ON
2011
6100 S BLACKSTONE AVE

TC Page 25

Case: 1:18-Cv-03424 Document #: 85-21 Filed: 02/05/19 Page 16 of 50 Page|D #:2750

 

 

MAP FlND|NGS

 

 

 

AlR COOLED MOTORS, 6100 S BLACKSTCNE AVE, CH|CAGO, IL (Continued)

Name: EXPER|MENTAL STAT|ON
Year: 2012
Address: 6100 S BLACKSTONE AVE

TC Page 26

Case: 1:18-Cv-03424 Document #: 85-21 Filed: 02/05/19 Page 17 of 50 Page|D #:2751

 

 

 

MAP FlND|NGS

 

 

 

GLADSTONE GARAGE
1410 E 62D, CH|CAGO, lL,

1009105781

 

W1/10-1/3

(1085 fr. / 0.206 mi.)

 

A15

 

 

5 ft. Higher Elevation

594 lt. Above Sea Level

 

Historica| Gas Stations

 

 

Worksheet:

EDR Historical Auto Stations: Historical Gas Stations

Name: GLADSTONE GARAGE
Year: 1 928
Type: AUTOMOBILE GARAGES

TC Page 27

Case: 1:18-Cv-03424 Document #: 85-21 Filed: 02/05/19 Page 18 of 50 Page|D #:2752

 

 

MAP FlND|NGS

 

 

 

 

UN|VERS|TY OF CH|CAGO

1427 EAST 60TH STREET, CH|CAGO, lL, 60637 51°453°348

 

State and tribal leaking storage tank lists

NW1/10-1/3 (1133 ft./0.215 mi.)

 

AC16

1 ft. Higher Elevation 590 lt. Above Sea Level

 

 

 

 

 

Worksheet:

LUST: State and tribal leaking storage tank lists

lncident Num:

lL EPA ld:

Product:

lEMA Date:

Project Manager:
Project Manager Phone:
Email:

PRP Name:

PRP Contact:

PRP Address:

PRP City,St,Zip:

PRP Phone:

Site Classification:
Section 57.5(g) Letter“.
Date Section 57.5(g) Letter;

Non LUST Detennination Letter:

20 Report Received:
45 Report Received:
NFAINFR Letter:

NFR Date Recorded:

20000100

0316415023

Other Petro

01/18/2000

Rahman

(217) 782-9848
Mohammed.Rahman@i||inois.gov
University of Chicago
Rebecca Bratt

5555 South E|lis Avenue
Chicago, |L 60637
7737025663

Not Reported

732

Not Reported

Not Reported
02/23/2000

05/11/2000

07/03/2000

08/21/2000

TC Page 28

Case: 1:18-Cv-03424 Document #: 85-21 Filed: 02/05/19 Page 19 of 50 Page|D #:2753

 

 

 

MAP FlND|NGS

 

 

 

BLACKSTONE LAUNDRY CO
1459 E 64TH, CH|CAGO, lL,

1009201796

 

AD17

 

SW1/10 -1/3

(113711./0.215 mi.)

 

 

5 ft. Higher Elevation

594 tt. Above Sea Level

 

Historica| Dry Cleaners

 

 

Worksheet:

EDR Historica| Cleaners: Historica| Dry Cleaners

Name:
Year:
Type:

BLACKSTONE LAUNDRY CO

LAUNDR|ES STEAM

TC Page 29

Case: 1:18-Cv-03424 Document #: 85-21 Filed: 02/05/19 Page 20 of 50 Page|D #:2754

 

 

 

MAP FlND|NGS

 

 

 

DORCHOSTER F|LLlNG STA
6245 DORCHESTER AV, CH|CAGOl lL,

1009095698

 

WSW1/10 -1/3

(1272 ft. / 0.241 mi.)

 

AE18

 

 

5 ft. Higher Elevation

594 tt. Above Sea Level

 

Historica| Gas Stations

 

 

Worksheet:

EDR Historical Auto Stations: Historical Gas Stations

Name: DORCHOSTER F|LL|NG STA
Year: 1928
Type: GASOL|NE AND O|L SERV|CE STAT|ONS

TC Page 30

Case: 1:18-Cv-03424 Document #: 85-21 Filed: 02/05/19 Page 21 of 50 Page|D #:2755

 

 

 

 

 

 

 

MAP FlND|NGS
PLOSZYNSKI ADOLPH
6247 DORCHESTER AV, CH|CAGO, lL, 1009213557
Wsw 1/10 - 1/3 (1272 ft. / 0.241 mi.) H‘$t°"°a' Dry C'°a"°'$

 

A E19
5 ft. Higher Elevation

 

 

594 tt. Above Sea Level

 

 

 

Worksheet:

EDR Historica| Cleaners: Historica| Dry Cleaners

Name:
Year:
Type:

Name:
Year:
Type:

PLOSZYNSK| ADOLPH
1923
CLEANERS AND DYERS CONTD

PLOZYNSK| ADALBERT
1928
CLOTHES PRESSEERS AND CLEANERS

TC Page 31

Case: 1:18-Cv-03424 Document #: 85-21 Filed: 02/05/19 Page 22 of 50 Page|D #:2756

 

 

MAP FlND|NGS

 

 

 

 

 

 

 

 

 

 

 

ANDREW CARNEGIE SCHOOL
6101 SOUTH DORCHESTER AVENUE, CH|CAGO, lL, 60637- 51°4562°62
- State and tribal institutional control / en ineerin control
A m wNw1/10 -1/3 (1272 ft. / 0.241 mi.) regismes 9 9
4 n. Higher Elevation 593 n. Above sea Level Sfafa and tribal voluntary C|aar\up Sites
Worksheet:

SRP: State and tribal voluntary cleanup sites

lL EPA ld:

US EPA ld:
Longitude:

Latitude:

Contact Name:
Contact Address:
Contact Address2:
Contact City,St,Zip:
Contact Phone:

Date Enro|led:

Point Of Contact:
Consu|tant Company:
Consu|tant Address:
Consu|tant AddressZ:
Consu|tant City,St,Zip:
Consu|tant Phone:
Proj Mgr Assigned:
Sec. 4 Letter Date:
NFR Recorded:
Active:

Total Acres;

No Further Remediation Letter Dt:

Remediation Applicant Co:
Remediation Applicant Tlt|e:
Remediation Applicant Name:
Remediation Applicant Company:
Remediation Applicant Address:

Remediation Applicant Address 2:
Remediation Applicant City,St,Zip:

illinois EPA:

Site Name:

NFR Letter:

NFR Letter Date Recorded:
Site Type:
Comprehensive/Focused:
institutional Contro|s:
Barrier:

Worker Caution:

Acres:

0316425044
|L0000637314
-87.59117
41 .78407
Timothy Maltin
125 South Clark Street
17th Floor
Chicago, lL 60603-
(773) 553-2900
06/02/2000
Erin E. Curley
Midwest Engineen'ng Services, lnc.
4243 West 166th Street
Not Reported
Oak Forest, |L 60452-
(708) 535-9981
Sanders
Not Reported
11/06/2000
Fa|se
0.340
09/26/2000
Chicago Public Schoo|s
Mr.
Mr. Timothy Martin
Chicago Public Schoo|s
125 South C|ark Street
17th F|oor
Chicago, lL 60603-
0316425044
Andrew Camegie School
2000-09-26
2000-11-06
Residential
Comprehensive
Not Reported
Grave| barrier
Fa|se
0.340

TC Page 32

Case: 1:18-Cv-03424 Document #: 85-21 Filed: 02/05/19 Page 23 of 50 Page|D #:2757

 

 

MAP FlND|NGS

 

 

 

ANDREW CARNEG|E SCHOOL, 6101 SOUTH DCRCHESTER AVENUE, CH|CAGO, lL 60637- (Contlnued)

ENG|NEER|NG CONTRCLS: State and tribal institutional control l engineean control registries

l||inois Epa ld: 0316425044

NFR Letter: 09/26/2000

Date NFR Recorded: 11/06/2000

Type Of Site: Residentia|
Comprehensive / Focused: Comprehensive
Remediation Applicant Tlt|e: Mr.

Remediation Applicant Name: Tirnothy Marlin

RA Company: Chicago Public Schools
RA Address: 125 South Clark Street
RA Secondary Address: 17th Floor

RA City,St,Zip: Chicago, lL 60603-
lnstitutional Contro|s: Not Reported
Engineered Barriers: Grave| barrier

Worker Caution: Fa|se

Acres: 0.340

TC Page 33

Case: 1:18-Cv-03424 Document #: 85-21 Filed: 02/05/19 Page 24 of 50 Page|D #:2758

 

 

 

MAP FlND|NGS

 

 

 

RHODES ARTHUR S
6119 DORCHESTER AV, CH|CAGOl lL,

1009210821

 

W1/10-1/3

(1274 fr. / 0.241 mi.)

 

A F21
4 ft. Higher Elevation

 

 

593 tt. Above Sea Level

 

Historical Dry Cleaners

 

 

Worksheet:

EDR Historical Cleaners: Historical Dry Cleaners

Name: RHODES ARTHUR S
Year:

Type: LAUNDR|ES

Name: MARVEL HAND LAUNDRY
Year:

Type: LAUNDR|ES

TC Page 34

Case: 1:18-Cv-03424 Document #: 85-21 Filed: 02/05/19 Page 25 of 50 Page|D #:2759

 

 

 

 

 

 

 

 

 

 

 

 

 

MAP FlND|NGS
YOUNG JULIA M MRS
6248 DORCHESTER AV, CH|CAGO, lL, 10°9212251
Wsw 1/10 - 1/3 (1274 ft. / 0.241 mi.) H‘$t°"°a' Dry C'°a"°'$
A E22
5 ft. Higher Elevation 594 tt. Above Sea Level
Worksheet:

EDR Historical Cleaners: Historical Dry Cleaners

Name:
Year:
Type:

YOUNG JULIA M MRS
1923
CLEANERS AND DYERS CONTD

TC Page 35

Case: 1:18-Cv-03424 Document #: 85-21 Filed: 02/05/19 Page 26 of 50 Page|D #:2760

 

 

 

 

 

 

 

 

 

 

 

 

 

MAP FlND|NGS
MEYERS LOUIS E
6121 DORCHESTER AV, CH|CAGO, lL, 10°9211854
W 1/10 - 1/3 (1274 ft. / 0.241 mi.) H‘$t°"°a' Dry C'°a"°'$
A 23 4 ft. Higher Elevation 593 tt. Above Sea Level
Worksheet:

EDR Historical Cleaners: Historical Dry Cleaners

Name:
Year:
Type:

MEYERS LOU|S E
1923
CLEANERS AND DYERS CONTD

TC Page 36

Case: 1:18-Cv-03424 Document #: 85-21 Filed: 02/05/19 Page 27 of 50 Page|D #:2761

 

 

 

 

 

 

 

 

 

 

 

 

 

MAP FlND|NGS
CENTRAL CLEANERS
1434 E 64TH, CH|CAGO, |L, 1°°92°3775
sw 1/10 - 1/3 (1279 ft. / 0.242 mi.) H‘$t°"°a' Dry C'°a"°'$
A D24
6 ft. Higher Elevation 595 tt. Above Sea Level
Worksheet:
EDR Historical Cleaners: Historical Dry Cleaners
Name: CENTRAL CLEANERS
Year: 1923
Type: CLEANERS AND DYERS
Name: ARONSON CLEAN|NG DVE|NG WKS
Year: 1928
Type: CLEANERS GARMENTS CURTA|NS AND DRAPER|ES

TC Page 37

Case: 1:18-Cv-03424 Document #: 85-21 Filed: 02/05/19 Page 28 of 50 Page|D #:2762

 

 

 

 

 

 

 

 

 

 

 

 

 

MAP FlND|NGS
MlDWAY LlNEN SUPPLY LAUNDRY
6022 DORCHESTER AV, CH|CAGO, lL, 1009201355
WNw 1/10 - 1/3 (1283 ft. / 0.243 mi.) H‘$t°"°a' Dry C'°a"°'$
A 625
2 ft. Higher Elevation 591 tt. Above Sea Level
Worksheet:

EDR Historical Cleaners: Historical Dry Cleaners

Name:
Year:
Type:

MlDWAY LlNEN SUPPLY LAUNDRY
1928
LAUNDR|ES STEAM

TC Page 38

Case: 1:18-Cv-03424 Document #: 85-21 Filed: 02/05/19 Page 29 of 50 Page|D #:2763

 

 

 

MAP FlND|NGS

 

 

 

MlDWAY LAUNDRY CO
6018 DORCHESTER AV, CH|CAGOl lL,

1009214770

 

WNW1/10 -1/3

(1285 ft. / 0.243 mi.)

 

A 626

 

 

1 ft. Higher Elevation

590 tt. Above Sea Level

 

Historical Dry Cleaners

 

 

Worksheet:

EDR Historical Cleaners: Historical Dry Cleaners

Name: MlDWAY LAUNDRY CO
Year: 1923
Type: LAUNDR|ES

TC Page 39

Case: 1:18-Cv-03424 Document #: 85-21 Filed: 02/05/19 Page 30 of 50 Page|D #:2764

 

 

 

MAP FlND|NGS

 

 

 

MOYS HAND LAUNDRY
1432 E 64TH, CH|CAGO, lL,

1009199499

 

SW1/10 -1/3

(1293 ft. / 0.245 mi.)

 

A D27

 

 

6 ft. Higher Elevation

595 tt. Above Sea Level

 

Historical Dry Cleaners

 

 

Worksheet:

EDR Historical Cleaners: Historical Dry Cleaners

Name: MOVS HAND LAUNDRY
Year: 1928
Type: LAUNDR|ES CH|NESE

TC Page 40

Case: 1:18-Cv-03424 Document #: 85-21 Filed: 02/05/19 Page 31 of 50 Page|D #:2765

 

 

MAP FlND|NGS

 

 

 

 

SOUTHERN SHORE YACHT CLUB

6401 SOUTH RlCHARDS DR., CH|CAGO, lL, 60649 51°452725°

 

State and tribal leaking storage tank lists

SE1/10 -1/3 (1339 ft. / 0.254 mi.)

 

428

9 ft. Higher Elevation 598 tt. Above Sea Level

 

 

 

 

 

Worksheet:

LUST: State and tribal leaking storage tank lists

incident Num: 900322

lL EPA ld: 0316435027
Product: Un|eaded Gas
lEMA Date: 02/05/1990
Project Manager: Kasa

Project Manager Phone:

(217) 557-7048

Email: Steve.Kasa@il|inois.gov
PRP Name: Southem Shore Yacht Club
PRP Contact: Ted Peck

PRP Address: 6401 South Richards Dr.
PRP City,St,Zip: Chicago, |L 60649

PRP Phone: Not Reported

Site Classification: Not Reported

Section 57.5(g) Letter“. 731

Date Section 57.5(g) Letter; Not Reported

Non LUST Detennination Letter: Not Reported

20 Report Received: Not Reported

45 Report Received: Not Reported

NFA/NFR Letter: Not Reported

NFR Date Recorded: Not Reported

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RECORD SOURCES AND CURRENCY

 

 

To maintain currency of the following databases. EDR contacts the appropriate agency on a monthly cr quarterly basis, as required.

Number of Days to Update: Pnovides confirmation that EDR is reporting records that have been updated within 90 days from the
date the government agency made the information available to the public.

STANDARD ENVIRONMENTAL RECORDS

PRP: Potentia||y Responsible Parties
Standard Environmental Record Source: Other Standard Environmental Records
Search Distance: Property

A listing of verified Potentially Responsible Parties

Date of Govemment Version: 04/15/2013 Source: EPA
Number of Days to Update: 72 Telephone: 202-564-6023
Last EDR Contact :09/30/2014

RMP: Risk Management Plans
Standard Environmental Record Source: Other Standard Environmental Records
Search Distance: Property

When Congress passed the Clean Air Act Amendments of 1990, it required EPA to publish regulations and guidance for
chemical accident prevention at facilities using extremely hazardous substances The Risk Management Program Ru|e (RMP
Ru|e) was written to implement Section 112(r) of these amendments. The rule, which built upon existing industry codes and
standards, requires companies of all sizes that use certain flammable and toxic substances to develop a Risk Management
Program, which includes a(n): Hazard assessment that details the potential effects of an accidental release, an accident history
of the last five years, and an evaluation of worst-case and alternative accidental releases; Prevention program that includes
safety precautions and maintenance, monitoring, and employee training measures; and Emergency response program that
spells out emergency health care, employee training measures and procedures for informing the public and response agencies
(e.g the fire department) should an accident occur.

Date of Govemment Version: 04/01/2014 Source: Environmental Protection Agency
Number of Days to Update: 66 Telephone: 202-564-8600
Last EDR Contact :07/22/2014

AlRS: Air lnventory Listing
Standard Environmental Record Source: Other Standard Environmental Records
Search Distance: Property

A listing of air permits and emissions information.

Date of Govemment Version: 12/31/2013 Source: illinois EPA
Number of Days to Update: 25 Telephone: 217-557-0314
Last EDR Contact :10/06/2014

BOL: Bureau of Land inventory Database
Standard Environmental Record Source: Other Standard Environmental Records
Search Distance: Property

Bureau of Land inventory for facility information. Data results are cross-linked with all on-|ine database system applications
from lEPA - Bureau of Land as well as USEPA FRS database.

Date of Govemment Version: 06/20/2014 Source: illinois Environmental Protection Agency
Number of Days to Update: 15 Telephone: 217-785-9407
Last EDR Contact :09/02/2014

BRCWNF|ELDS: Municipa| Brownfie|ds Redevelopment Grant Program Project Descriptions
Standard Environmental Record Source: State and tribal Brownfie|ds sites

TC GR1

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RECORD SOURCES AND CURRENCY

 

 

Search Distance: 0.333 Mile

The illinois Municipa| Brownfie|ds Redevelopment Grant Program (MBRGP) offers grants worth a maximum of $240,000 each
to municipalities to assist in site investigation activities, development of cleanup objectives, and performance of cleanup
activities. Brownfie|ds are abandoned or underused industrial and/or commercial properties that are contaminated (or thought
to be contaminated) and have an active potential for redevelopment.

Date of Govemment Version: 07/30/2014 Source: illinois Environmental Protection Agency
Number of Days to Update: 39 Telephone: 217-785-3486
Last EDR Contact :07/28/2014

BRCWNF|ELDS: Redevelopment Assessmeni Database
Standard Environmental Record Source: State and tribal Brownhe|ds sites

The Office of Site Evaluations Redevelopment Assessment database identifies the status of all properties within the State in
which the illinois EPA's Office of Site Eva|uation has conducted a municipal Brownfield Redevelopment Assessment.

Date of Govemment Version: 07/28/2014 Source: illinois Environmental Protection Agency
Number of Days to Update: 40 Telephone: 217-524-1658
Last EDR Contact :07/30/2014

CCDD: Clean Construction or Demolition Debris
Standard Environmental Record Source: State and tribal landfill / solid waste disposal
Search Distance: 0.333 Mile

Construction and demolition (C and D) debris is nonhazardous, uncontaminated material resulting from construction,
remodeling, repair, or demolition of utilities, structures, and roads.

Date of Govemment Version: 07/28/2014 Source: illinois EPA
Number of Days to Update: 40 Telephone: 217-524-3300
Last EDR Contact :07/30/2014

CDL: Meth Drug Lab Site Listing
Standard Environmental Record Source: Other Standard Environmental Records
Search Distance: Property

A listing of clandestine/math drug lab locations.

Date of Govemment Version: 07/17/2014 Source: Dapartment of Public Health
Number of Days to Update: 40 Telephone: 217-782-5750
Last EDR Contact :07/28/2014

CCAL ASH: Coai Ash Site Listing
Standard Environmental Record Source: Other Standard Environmental Records
Search Distance: 0.333 Mile

A listing of coal ash site |coations.
Date of Govemment Version: 10/01/2011 Source: illinois EPA

Number of Days to Update: 32 Telephone: 217-782-1654
Last EDR Contact :09/05/2014

DRYCLEANERS: illinois Licensed Drycleaners
Standard Environmental Record Source: Other Standard Environmental Records
Search Distance: 0.25 Mile

TC GR2

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RECORD SOURCES AND CURRENCY

 

 

Any retail drycleaning facility in illinois must apply for a license through the illinois Drycleaner Environmental Response Trust
Fund. Drycleaner Environmental Response Trust Fund of lllinois.

Date of Govemment Version: 08/25/2014 Source: Drycleaner Environmental Response Trust Fund of illinois
Number of Days to Update: 13 Telephone: 800-765-4041
Last EDR Contact :08/26/2014

ENG CCNTROLS: Sites with Engineering Controls
Standard Environmental Record Source: State and tribal institutional control / engineering control registries
Search Distance: Property

Sites using of engineered barriers (e.g., asphalt or concrete paving).

Date of Govemment Version: 07/03/2014 Source: illinois Environmental Protection Agency
Number of Days to Update: 8 Telephone: 217-782-6761
Last EDR Contact :07/08/2014

Financia| Assurance: Financia| Assurance |nfonnation Listing
Standard Environmental Record Source: Other Standard Environmental Records
Search Distance: Property

lnfonnation for hazardous waste facilities. Financial assurance is intended to ensure that resources are available to pay for the
cost of closure, post-closure care, and corrective measures if the owner or operator of a regulated facility is unable or unwilling
to pay.

Date of Govemment Version: 06/13/2014 Source: illinois Environmental Protection Agency
Number of Days to Update: 14 Telephone: 217-782-9887
Last EDR Contact :08/19/2014

HWAR: Hazard Waste Annual Report
Standard Environmental Record Source: Other Standard Environmental Records
Search Distance: Property

Each year, lllinois hazardous-waste generators tell the illinois EPA the amounts and kinds of hazardous waste they produced
during the previous year. Generators indicate by code the types of wastes produced and the steps they took to mana e these
wastes. if some or all of these wastes were sent to commercial treatment, store e, and disposal facilities (TSD s). that
information and the identity of each receiving facility also are submitted. illinois T$D s likewise report the types and quantities
of wastes received from in-state and out-of-state generators; they also report the procedures they used to manage these
wastes.

Date of Govemment Version: 12/31/2012 Source: illinois EPA
Number of Days to Update: 28 Telephone: 217-524»3300
Last EDR Contact :07/30/2014

lEMA SP|LLS: illinois Emergency Management Agency Spiils
Standard Environmental Record Source: Other Standard Environmental Records
A listing of hazardous materials incidents reported to the illinois Emergency Management Agency.

Date of Govemment Version: 08/05/2014 Source: illinois Emergency Management Agency
Number of Days to Update: 36 Telephone: 217-524-0770
Last EDR Contact :08/06/2014

lL NlPC: Solid Waste Landfil| inventory
Standard Environmental Record Source: State and tribal landfill / solid waste disposal
Search Distance: 0.333 Mile

TC GR3

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RECORD SOURCES AND CURRENCY

 

 

Solid Waste Landfill lnventory. NlPC is an inventory of active and inactive solid waste disposal sites. based on state, local
government and historical archive data. included are numerous sites which previously had never been identified largely
because there was no obligation to register such sites prior to 1971.

Date of Govemment Version: 08/01/1988 Source: Northeastern illinois Planning Commission
Number of Days to Update: 11 Telephone: 312-454»0400
Last EDR Contact :05/23/2006

lMPDMENT: Surface impoundment inventory
Standard Environmental Record Source: Other Standard Environmental Records
Search Distance: 0.333 Mile

Statewide inventory of industrial, municipa|, mining, oil & gas , and large agricultural impoundment. This study was conducted
by the illinois EPA to assess potentail for contamination of shallow aquifers. This was a one-time study. Although many of the
impoundments may no longer be present, the sites may be oontaminated.

Date of Govemment Version: 12/31/1980 Source: illinois Waste Management & Research Center
Number of Days to Update: 87 Telephone: 217-333-8940
Last EDR Contact :02/20/2002

inst Control: institutional Controls
Standard Environmental Record Source: State and tribal institutional control / engineering control registries
Search Distance: Property

Lega| or administrative restrictions on land use and/or other activities (e_g., groundwater use restrictions) which effectively limit
exposure to contamination may be employed as alternatives to removal or treatment of contamination.

Date of Govemment Version: 07/03/2014 Source: illinois Environmental Protection Agency
Number of Days to Update: 8 Telephone: 217-782-6761
Last EDR Contact :07/08/2014

LF SPEC|AL WASTE: Special Waste Site List
Standard Environmental Record Source: State and tribal landfill / solid waste disposal
Search Distance: 0.333 Mile

These landfills, as of January 1, 1990, accept non-hazardous special waste pursuant to the illinois EPA Non-Hazardous
Special Waste Definition. List A includes landfills that may receive any non-hazardous waste, Non-Regional Pollution Control
Facilities are so noted. List B includes landfills designed to receive s ecific non-hazardous wastes. List B landfills are
designated as a Regional Pollution Control Facility by RPCF, or Non- egional Pollution Control Facility by Non-RPCF.

Date of Govemment Version: 01/01/1990 Source: illinois EPA
Number of Days to Update: 28 Telephone: 217-782-9288
Last EDR Contact :06/10/2009

LF WMRC: Waste Management & Research Center Landfill Database
Standard Environmental Record Source: State and tribal landfill / solid waste disposal

The Waste Management & Research Center Landfill Database includes records from the Department of Public Health,
Department of Mines & Minerais, illinois Environmental Protection Agency. State Geologica| Survey. Northeastern illinois
Planning Commission and Pollution Control Board.

Date of Govemment Version: 12/31/2001 Source: Department of Natural Resources
Number of Days to Update: 31 Telephone: 217-333-8940
Last EDR Contact :09/18/2009

LUST: Leaking Underground Storage Tank Sites
Standard Environmental Record Source: State and tribal leaking storage tank lists
Search Distance: 0.333 Mile

TC GR4

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RECORD SOURCES AND CURRENCY

 

 

Leaking Underground Storage Tank incident Reports. LUST records contain an inventory of reported leaking underground
storage tank incidents. Not all states maintain these records, and the information stored varies by state.

Date of Govemment Version: 07/16/2014 Source: illinois Environmental Protection Agency
Number of Days to Update: 40 Telephone: 217-782-6762
Last EDR Contact :07/30/2014

LUST TRUST: Underground Storage Tank Fund Payment Prioirty List
Standard Environmental Record Source: State and tribal leaking storage tank lists
Search Distance: 0.333 Mile

in case sufficient funds are not available in the Underground Storage Tank Fund, requests for payment are entered on the
Payment Priority List by ”queue date' order. As required by the Environmental Protection Act, the queue date is the date that a
complete request for partial or final payment was received by the Agency. The queue date is ”officia||y" conhnned at the end of
the payment review process when a Fina| Decision Letter is sent to the site owner.

Date of Govemment Version: 06/24/2014 Source: illinois EPA
Number of Days to Update: 40 Telephone: 217-782-6762
Last EDR Contact :07/30/2014

NPDES: A Listing of Active Permits
Standard Environmental Record Source: Other Standard Environmental Records
Search Distance: Property

A listing of facilities currently active in the state. The types of permits are public, private, federal and state.

Date of Govemment Version: 04/16/2014 Source: illinois EPA
Number of Days to Update: 32 Telephone: 217-782-0610
Last EDR Contact :10/06/2014

PlMW: Potentialiy infectious Medical Waste
Standard Environmental Record Source: Other Standard Environmental Records
Search Distance: 0.25 Mile

Potentially infectious Medical Waste PlMW) is waste generated in connection with the diagnosis, treatment si.e.. provision of
medical services), or immunization of uman beings or animals; research pertaining to the provision of medica services; or the
provision or testing of biologicals.

Date of Govemment Version: 06/23/2014 Source: illinois EPA
Number of Days to Update: 20 Telephone: 217-524-3289
Last EDR Contact :09/22/2014

SPlLLS: State spills
Standard Environmental Record Source: Other Standard Environmental Records
Search Distance: Property

A listing of incidents reported to the Ofiice of Emergency Response.
Date of Govemment Version: 07/17/2014 Source: illinois EPA

Number of Days to Update: 7 Telephone: 217-782-3637
Last EDR Contact :07/11/2014

SRP: Site Remediation Program Database
Standard Environmental Record Source: State and tribal voluntary cleanup sites
Search Distance: 0.333 Mile

TC GRS

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RECORD SOURCES AND CURRENCY

 

 

The database identifies the status of all voluntary remediation projects administered through the pre-notice site cleanup
program (1989 to 1995) and the site remediation program (1996 to the present).

Date of Govemment Version: 07/03/2014 Source: illinois Environmental Protection Agency
Number of Days to Update: 8 Telephone: 217-785-9407
Last EDR Contact :07/08/2014

SSU: State Sites Unit Listing
Standard Environmental Record Source: State and tribal - equivalent CERCL|S
Search Distance: 0.333 Mile

§he SLt,ate Response Action Program database identifies the status of all sites under the responsibility of the illinois EPA's State
ites nit.

Date of Govemment Version: 08/12/2014 Source: illinois Environmental Protection Agency
Number of Days to Update: 28 Telephone: 217-524-4826
Last EDR Contact :07/28/2014

SWFILF: Avaiiab|e Disposai for Solid Waste in illinois - Solid Waste Landfiils Subject to State Surcharge
Standard Environmental Record Source: State and tribal landfill / solid waste disposal
Search Distance: 0.333 Mile

Solid Waste Facilities/Landfill Sites. SWF/LF type records typically contain an inventory of solid waste disposal facilities or
landfills in a particular state. Depending on the state, these may be active or inactive facilities or open dumps that failed to
meet RCRA Subtitle D Section 4004 criteria for solid waste landfills or disposal sites.

Date of Govemment Version: 12/31/2013 Source: illinois Environmental Protection Agency
Number of Days to Update: 39 Telephone: 217-785-8604
Last EDR Contact :07/28/2014

TlER 2: Tier 2 lnfonnation Listing
Standard Environmental Record Source: Other Standard Environmental Records
Search Distance: Property

A listing of facilities which store or manufacture hazardous materials and submit a chemical inventory report.

Date of Govemment Version: 12/31/2013 Source: illinois Emergency Management Agency
Number of Days to Update: 23 Telephone: 217-785-9860
Last EDR Contact :08/19/2014

UlC: Underground injection Wel|s
Standard Environmental Record Source: Other Standard Environmental Records
Search Distance: Property

injection wells are used for disposal of fluids by "injection" into the subsurface. The construction of injection wells range from

very technical designs with twenty-four hour monitorin to simply a hole dug in the ground to control runoff. As a result of this
diversity, the UlC Program divides injection wells into ve different classes.

Date of Govemment Version: 06/05/2014 Source: illinois EPA
Number of Days to Update: 24 Telephone: 217-782-9878
Last EDR Contact :08/19/2014

UST: Underground Storage Tank Facility List
Standard Environmental Record Source: State and tribal registered storage tank lists
Search Distance: Property

TC GRS

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RECORD SOURCES AND CURRENCY

 

 

Registered Underground Stora e Tanks. UST's are regulated under Subtitle l of the Resource Conservation and Recovery Act
(R RA) and must be registere with the state department responsible for administering the UST program. Available information
varies by state program.

Date of Govemment Version: 07/28/2014 Source: illinois State Fire Marshal
Number of Days to Update: 51 Telephone: 217-785-0969
Last EDR Contact :07/30/2014

2020 CCR ACT|ON: 2020 Corrective Action Program List
Standard Environmental Record Source: Other Standard Environmental Records
Search Distance: 0.25 Mile

The EPA has set ambitious goals for the RCRA Corrective Action program by creating the 2020 Corrective Action Universe.
This RCRA cleanup baseline includes facilities expected to need corrective action. The 2020 universe contains a wide variety
of sites. Some properties are heavily contaminated while others were contaminated but have since been cleaned up. Stiil
others have not been fully investigated yet, and may require little or no remediation. inclusion in the 2020 Universe does not
necessarily imply failure on the part of a facility to meet its RCRA obligations.

Date of Govemment Version: 11/11/2011 Source: Environmental Protection Agency
Number of Days to Update: 7 Telephone: 703-308-4044
Last EDR Contact :08/15/2014

CERCL|S: Comprehensive Environmental Response, Compensation, and Liabiiity lnfonnation System
Standard Environmental Record Source: Federai CERCL|S
Search Distance: 0.333 Mile

CERCL|S contains data on potentially hazardous waste sites that have been reported to the USEPA by states, municipalities,
private companies and private persons, pursuant to Section 103 of the Comprehensive Environmental Response,
Compensation, and Liabiiity Act (CERCLA). CERCL|S contains sites which are either proposed to or on the National Priorities
List (NPL) and sites which are in the screening and assessment phase for possible inclusion on the NPL.

Date of Govemment Version: 10/25/2013 Source: EPA
Number of Days to Update: 94 Telephone: 703-412-9810
Last EDR Contact :08/28/2014

CERCLlS-NFRAP: CERCL|S No Further Remedial Action Planned
Standard Environmental Record Source: Other Standard Environmental Records
Search Distance: 0.333 Mile

Archived sites are sites that have been removed and archived from the inventory of CERCL|S sites. Archived status indicates
that, to the best of EPA's knowledge, assessment at a site has been completed and that EPA has determined no further steps
will be taken to list this site on the National Priorities List (NPL), unless information indicates this decision was not appropriate
or other considerations require a recommendation for listing at a later time. This decision does not necessarily mean that there
is no hazard associated with a given site; it only means that, based upon available inforrnation, the location is notjudged to be
a potential NPL site.

Date of Govemment Version: 10/25/2013 Source: EPA
Number of Days to Update: 94 Telephone: 703-412-9810
Last EDR Contact :08/28/2014

COAL ASH DCE: Sleam-Electric P|an Operation Data
Standard Environmental Record Source: Other Standard Environmental Records
Search Distance: Property

A listing of power plants that store ash in surface ponds.
Date of Govemment Version: 12/31/2005 Source: Department of Energy

Number of Days to Update: 76 Telephone: 202-586-8719
Last EDR Contact :07/18/2014

TC GR7

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RECORD SOURCES AND CURRENCY

 

 

COAL ASH EFA: Coai Combustion Residues Surface impoundments List
Standard Environmental Record Source: Other Standard Environmental Records
Search Distance: 0.333 Mile

A listing of coal combustion residues surface impoundments with high hazard potential ratings.

Date of Govemment Version: 03/14/2014 Source: Environmental Protection Agency
Number of Days to Update: 47 Telephone: Not Reported
Last EDR Contact :09/10/2014

CCNSENT: Superfund (CERCLA) Consent Decrees
Standard Environmental Record Source: Federai NPL
Search Distance: 0.333 Mile

Major legal settlements that establish responsibility and standards for cleanup at NPL (Superfund) sites. Released periodically
by United States Distn'ct Courts after settlement by parties to litigation matters.

Date of Govemment Version: 12/31/2013 Source: Department of Justice, Consent Decree Library
Number of Days to Update: 31 Telephone: Varies
Last EDR Contact :09/30/2014

CORRACTS: Corrective Action Report
Standard Environmental Record Source: Federai RCRA CORRACTS facilities list
Search Distance: 0.333 Mile

CORRACTS identities hazardous waste handlers with RCRA corrective action activity.

Date of Govemment Version: 06/10/2014 Source: EPA
Number of Days to Update: 78 Telephone: 800-424-9346
Last EDR Contact :10/01/2014

DEBRIS REGiON 9: Torres Martinez Reservation illegal Dump Site Locations
Standard Environmental Record Source: State and tribal landfill / solid waste disposal
Search Distance: 0.333 Mile

A listing of illegal dump sites location on the Torres Martinez indian Reservation located in eastern Riverside County and
northern imperial County, California.

Date of Govemment Version: 01/12/2009 Source: EPA, Region 9
Number of Days to Update: 137 Telephone: 415-947-4219
Last EDR Contact :07/25/2014

DEL|STED NPL: National Priority List Deletions
Standard Environmental Record Source: Other Standard Environmental Records
Search Distance: 0.333 Mile
The National Oil and Hazardous Substances Pollution Contingency Plan (NCP) establishes the criteria that the EPA uses to

delete sites from the NPL. in accordance with 40 CFR 300.425.(9). sites may be deleted from the NPL where no further
response is appropriate.

Date of Govemment Version: 10/25/2013 Source: EPA
Number of Days to Update: 78 Telephone: Not Reported
Last EDR Contact 109/1 9/2014

DOT OPS: incident and Accident Data
Standard Environmental Record Source: Other Standard Environmental Records

TC GRB

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RECORD SOURCES AND CURRENCY

 

 

Search Distance: Property

Department of Transporation, Ofiice of Pipeline Safety incident and Accident data.

Date of Govemment Version: 07/31/2012 Source: Department of Transporation, Office of Pipeline Safety
Number of Days to Update: 42 Telephone: 202-366-4595
Last EDR Contact :08/06/2014

EPA WATCH LlST: EPA WATCH LlST
Standard Environmental Record Source: Other Standard Environmental Records
Search Distance: Property

EPA maintains a "Watch List' to facilitate dialogue between EPA, state and local environmental agencies on enforcement
matters relating to facilities with all ed violations identified as either significant or high priority. Being on the Watch List does
not mean that the facility has actua ly violated the law only that an investigation by EPA or a state or local environmental
agency has led those organizations to allege that an unproven violation has in fact occurred. Being on the Watch List does not
represent a higher level of concern regarding the alleged violations that were detected, but instead indicates cases requiring
additional dialogue between EPA, state and local agencies - primarily because of the length of time the alleged violation has
gone unaddressed or unresolved.

Date of Govemment Version: 08/30/2013 Source: Environmental Protection Agency
Number of Days to Update: 88 Telephone: 617-520-3000
Last EDR Contact :08/15/2014

ERNS: Emergency Response Notification System
Standard Environmental Record Source: Federai ERNS list
Search Distance: Property

Emergency Response Notification System. ERNS records and stores information on reported releases of oil and hazardous
substances.

Date of Govemment Version: 09/30/2013 Source: National Response Center, United States Coast Guard
Number of Days to Update: 66 Telephone: 202-267-2180
Last EDR Contact :09/30/2014

FEMA UST: Underground Storage Tank Listing
Standard Environmental Record Source: State and tribal registered storage tank lists
Search Distance: Property

A listing of all FEMA owned underground storage tanks.

Date of Govemment Version: 01 /01/201 0 Source: FEMA
Number of Days to Update: 55 Telephone: 202-646-5797
Last EDR Contact :07/08/2014

FlNDS: Facility index System/Facility Registry System
Standard Environmental Record Source: Other Standard Environmental Records
Search Distance: Property

Facility index S stem. FlNDS contains both facility information and ‘pointers' to other sources that contain more detail. EDR
includes the fo owing FlNDS databases in this report: PCS (Permit Comp|iance System). A|RS (Aerometric information
Retrieval System), DOCKET (Enforcement Docket used to manage and track information on civil `udicial enforcement cases for
all environmental statutes), FURS (Federa| Underground injection Control), C-DOCKET (Crimina Docket System used to track
criminal enforcement actions for ali environmental statutes), FF|S (Federa| Facilities information System)l STATE (State
Environmental Laws and Statutes), and PADS (PCB Activity Data System).

Date of Govemment Version: 11/18/2013 Source: EPA

Number of Days to Update: 13 Telephone: Not Reported
Last EDR Contact :09/10/2014

TC GR9

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RECORD SOURCES AND CURRENCY

 

 

ETl'tS: |F)l`FftR)A/ TSCA Tracking System - FlFRA (Federal lnsecticide, Fungicide, & Rodenticide Act)/TSCA (Toxic Substances
on ro c

Standard Environmental Record Source: Other Standard Environmental Records
Search Distance: Property

FTTS tracks administrative cases and pesticide enforcement actions and compliance activities related to FlFRA, TSCA and
EPCR»¢\i (Emergency Planning and Community Right-to-Know Act). To maintain currency, EDR contacts the Agency on a
quarter y basis.

Date of Govemment Version: 04/09/2009 Source: EPA/Office of Prevention, Pesticides and Toxic Substances
Number of Days to Update: 25 Telephone: 202-566-1667
Last EDR Contact 108/1 9/2014

l(=:TTS lNSP): FlFRA/ TSCA Tracking System - FlFRA (Federal lnsecticide, Fungicide, & Rodenticide Act)/TSCA (Toxic Substances
ontrol Act

Standard Environmental Record Source: Other Standard Environmental Records
A listing of FlFRA/TSCA Tracking System (FTTS) inspections and enforcements.

Date of Govemment Version: 04/09/2009 Source: EPA
Number of Days to Update: 25 Telephone: 202-566-1667
Last EDR Contact :08/19/2014

FUDS: Formerly Used Defense Sites
Standard Environmental Record Source: Other Standard Environmental Records
Search Distance: 0.333 Mile

The listing includes locations of Fomierly Used Defense Sites properties where the US Arrny Corps of Engineers is actively
working or will take necessary cleanup actions.

Date of Govemment Version: 06/06/2014 Source: U.S. Arrny Corps of Engineers
Number of Days to Update: 8 Telephone: 202-528-4285
Last EDR Contact 109/1 0/2014

HIST FTTS: FlFRAfi'SCA Tracking System Administrative Case Listing
Standard Environmental Record Source: Other Standard Environmental Records
Search Distance: Property

A complete administrative case listing from the FlFRA/TSCA Tracking`|$ystem (F'iTS) for all ten EPA regions. The information
was obtained from the National Comp|iance Database (NCDB). CDB supports the implementation of FlFRA (Federal
lnsecticide, Fungicide, and Rodenticide Act) and TSCA (Toxic Substances Control Act). Some EPA regions are now closing out
records, Because of that, and the fact that some EPA regions are not providing EPA Headquarters with updated records, it
was decided to create a H|ST FTTS database. lt included records that may not be included in the newer FTTS database
updates. This database is no longer updated.

Date of Govemment Version: 10/19/2006 Source: Environmental Protection Agency
Number of Days to Update: 40 Telephone: 202-564-2501
Last EDR Contact :12/17/2007

HM|RS: Hazardous Materials information Reporting System
Standard Environmental Record Source: Other Standard Environmental Records
Search Distance: Property

Hazardous Materials incident Report System. HM|RS contains hazardous material spill incidents reported to DOT.

Date of Government Version: 06/30/2014 Source: U.S. Department of Transportation
Number of Days to Update: 79 Telephone: 202-366-4555
Last EDR Contact :10/01/2014

TC GR 10

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RECORD SOURCES AND CURRENCY

 

 

lC|S: integrated Comp|iance information System
Standard Environmental Record Source: Other Standard Environmental Records
Search Distance: Property

The integrated Comp|iance information System (lC|S) supports the information needs of the national enforcement and

compliance program as well as the unique needs of the National Pollutant Discharge Elimination System (NPDES) program.

Date of Govemment Version: 05/06/2014 Source: Environmental Protection Agency
Number of Days to Update: 32 Telephone: 202-564-5088
Last EDR Contact :10/09/2014

lNDlAN LUST R1: Leaking Underground Storage Tanks on indian Land
Standard Environmental Record Source: State and tribal leaking storage tank lists
Search Distance: 0.333 Mile

A listing of leaking underground storage tank locations on indian Land.

Date of Govemment Version: 02/01/2013 Source: EPA Region 1
Number of Days to Update: 184 Telephone: 617-918-1313
Last EDR Contact :08/01/2014

lNDlAN LUST R10: Leaking Underground Storage Tanks on indian Land
Standard Environmental Record Source: State and tribal leaking storage tank lists
LUSTs on indian land in Alaska, ldaho, Oregon and Washington.

Date of Govemment Version: 05/20/2014 Source: EPA Region 10
Number of Days to Update: 73 Telephone: 206-553-2857
Last EDR Contact :04/28/2014

lNDlAN LUST R4: Leaking Underground Storage Tanks on indian Land
Standard Environmental Record Source: State and tribal leaking storage tank lists
LUSTs on indian land in F|orida, Mississippi and North Caro|ina.

Date of Govemment Version: 07/30/2014 Source: EPA Region 4
Number of Days to Update: 10 Telephone: 404-562-8677
Last EDR Contact :04/22/2014

lNDlAN LUST R5: Leaking Underground Storage Tanks on indian Land
Standard Environmental Record Source: State and tribal leaking storage tank lists
Leaking underground storage tanks located on indian Land in Michigan, Minnesota and Wisconsin.

Date of Govemment Version: 08/04/2014 Source: EPA, Region 5
Number of Days to Update: 17 Telephone: 312-886-7439
Last EDR Contact :04/28/2014

lNDlAN LUST RG: Leaking Underground Storage Tanks on indian Land
Standard Environmental Record Source: State and tribal leaking storage tank lists
LUSTs on indian land in New Mexico and Oklahoma.

Date of Govemment Version: 05/14/2014 Source: EPA Region 6
Number of Days to Update: 61 Telephone: 214-665-6597
Last EDR Contact :07/22/2014

lNDlAN LUST R7: Leaking Underground Storage Tanks on indian Land
Standard Environmental Record Source: State and tribal leaking storage tank lists

TC GR11

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LUSTs on indian land in |owa, Kansas, and Nebraska

Date of Government Version: 05/22/2014 Source: EPA Region 7
Number of Days to Update: 27 Telephone: 913-551-7003
Last EDR Contact :04/28/2014

lNDlAN LUST R8: Leaking Underground Storage Tanks on indian Land
Standard Environmental Record Source: State and tribal leaking storage tank lists
LUSTs on indian land in Co|orado, Montana, North Dakota, South Dakota, Utah and Wyoming.

Date of Govemment Version: 08/13/2014 Source: EPA Region 8
Number of Days to Update: 7 Telephone: 303-312-6271
Last EDR Contact :07/22/2014

lNDlAN LUST R9: Leaking Underground Storage Tanks on indian Land
Standard Environmental Record Source: State and tribal leaking storage tank lists
LUSTs on indian land in Arizona, Califomia, New Mexico and Nevada

Date of Govemment Version: 03/01/2013 Source: Environmental Protection Agency
Number of Days to Update: 42 Telephone: 415-972-3372
Last EDR Contact :07/22/2014

lNDlAN ODl: Report on the Status of Open Dumps on indian Lands
Standard Environmental Record Source: Other Standard Environmental Records
Search Distance: 0.333 Mile

Location of open dumps on indian land.

Date of Govemment Version: 12/31/1998 Source: Environmental Protection Agency
Number of Days to Update: 52 Telephone: 703-308-8245
Last EDR Contact :08/01/2014

lNDlAN UST R1: Underground Storage Tanks on indian Land
Standard Environmental Record Source: State and tribal registered storage tank lists
Search Distance: Property

The indian Unde round Storage Tank (UST) database rovides information about underground storage tanks on indian land
in EPA Region 1 Connecticut, Maine, Massachusetts, ew Hampshire, Rhode lsiand, Vennont and ten Tn'bal Nations).

Date of Govemment Version: 02/01/2013 Source: EPA, Region 1
Number of Days to Update: 271 Telephone: 617-918-1313
Last EDR Contact :08/01/2014

lNDlAN UST R10: Underground Storage Tanks on indian Land
Standard Environmental Record Source: State and tribal registered storage tank lists

The indian Underground Storage Tank (UST) database provides information about underground storage tanks on indian land
in EPA Region 10 (Alaska, ldaho, Oregon, Washington. and Triba| Nations).

Date of Govemment Version: 05/20/2014 Source: EPA Region 10
Number of Days to Update: 66 Telephone: 206-553-2857
Last EDR Contact :07/22/2014

lNDlAN UST R4: Underground Storage Tanks on indian Land
Standard Environmental Record Source: State and tribal registered storage tank lists

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The indian Underground Stora?e Tank (UST) database provides information about underground storage tanks on indian land
in EPA Region 4 (Alabama, F orida. Georgia. Kentucky. Mississippi, North Caro|ina, South Caro|ina, Tennessee and Tribal

Nations)
Date of Govemment Version: 07/30/2014 Source: EPA Region 4
Number of Days to Update: 10 Telephone: 404-562-9424

Last EDR Contact :04/22/2014

lNDlAN UST R5: Underground Storage Tanks on indian Land
Standard Environmental Record Source: State and tribal registered storage tank lists

The indian Unde round Storage Tank (UST) database provides information about underground storage tanks on indian land
in EPA Region 5 Michigan, Minnesota and Wisconsin and Tribal Nations).

Date of Govemment Version: 08/04/2014 Source: EPA Region 5
Number of Days to Update: 17 Telephone: 312-886-6136
Last EDR Contact :04/28/2014

lNDlAN UST R6: Underground Storage Tanks on indian Land
Standard Environmental Record Source: State and tribal registered storage tank lists

The indian Underground Storage Tank (UST) database provides information about underground storage tanks on indian land
in EPA Region 6 (Louisiana, Arkansas, Oklahoma, New Mexico, Texas and 65 Tribes).

Date of Govemment Version: 07/25/2014 Source: EPA Region 6

Number of Days to Update: 25 Telephone: 214-665-7591
Last EDR Contact :07/22/2014

lNDlAN UST R7: Underground Storage Tanks on indian Land
Standard Environmental Record Source: State and tribal registered storage tank lists

The indian Underground Storage Tank (UST) database provides information about underground storage tanks on indian land
in EPA Region 7 (|owa, Kansas, Missouri, Nebraska, and 9 Tribal Nations).

Date of Govemment Version: 08/20/2014 Source: EPA Region 7
Number of Days to Update: 27 Telephone: 913-551-7003
Last EDR Contact :04/28/2014

lNDlAN UST R8: Underground Storage Tanks on indian Land
Standard Environmental Record Source: State and tribal registered storage tank lists

The indian Unde round Storage Tank UST database provides information about underground storage tanks on indian land
in EPA Region 8 Coiorado, Montana, orth akota, South Dakota, Utah, Wyoming and 27 Tribal Nations).

Date of Govemment Version: 08/13/2014 Source: EPA Region 8
Number of Days to Update: 7 Telephone: 303-312-6137
Last EDR Contact :07/22/2014

lNDlAN UST R9: Underground Storage Tanks on indian Land
Standard Environmental Record Source: State and tribal registered storage tank lists

The indian Unde round Stora e Tank (UST) database provides information about underground storage tanks on indian land
in EPA Region 9 Arizona, Cali omia, Hawaii, Nevada, the PaciHc lsiands, and Tribal Nations).

Date of Govemment Version: 08/14/2014 Source: EPA Region 9

Number of Days to Update: 7 Telephone: 415-972-3368
Last EDR Contact :07/22/2014

lNDlAN VCP R1: Voluntary Cleanup Priority Listing
Standard Environmental Record Source: State and tribal voluntary cleanup sites

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Search Distance: 0.333 Mile

A listing of voluntary cleanup priority sites located on indian Land located in Region 1.

Date of Government Version: 05/30/2014 Source: EPA, Region 1
Number of Days to Update: 45 Telephone: 617-918-1102
Last EDR Contact :10/01/2014

lNDlAN VCP R7: Voluntary Cleanup Priority Lisitng
Standard Environmental Record Source: State and tribal voluntary cleanup sites
A listing of voluntary cleanup priority sites located on indian Land located in Region 7.

Date of Govemment Version: 03/20/2008 Source: EPA, Region 7
Number of Days to Update: 27 Telephone: 913-551-7365
Last EDR Contact :04/20/2009

LEAD SMELTER 1: Lead Smelter Sites
Standard Environmental Record Source: Other Standard Environmental Records
Search Distance: Property

A listing of former lead smelter site locations.

Date of Government Version: 06/04/2014 Source: Environmental Protection Agency
Number of Days to Update: 46 Telephone: 703-603-8787
Last EDR Contact :10/06/2014

LEAD SMELTER 21 Lead Smelter Sites
Standard Environmental Record Source: Other Standard Environmental Records

A list of several hundred sites in the U.S. where secondary lead smelting was done from 1931and 1964. These sites may pose
a threat to public health through ingestion or inhalation of contaminated soil or dust

Date of Govemment Version: 04/05/2001 Source: American Journal of Public Health
Number of Days to Update: 36 Telephone: 703-305-6451
Last EDR Contact :12/02/2009

LlENS 2: CERCLA Lien information
Standard Environmental Record Source: Federai CERCL|S
Search Distance: Property

A Federai CERCLA ('Superfund') lien can exist by operation of law at any site or property at which EPA has spent Superfund

monies. These monies are spent to investigate and address releases and threatened releases of contamination. CERCL|S
provides information as to the identity of these sites and properties.

Date of Government Version: 02/18/2014 Source: Environmental Protection Agency
Number of Days to Update: 37 Telephone: 202-564-6023
Last EDR Contact :07/22/2014

LUC|S: Land Use Control |nfonnation System
Standard Environmental Record Source: Federai institutional controls / engineering controls registries
Search Distance: 0.333 Mile

LUC|S contains records of land use control information pertaining to the former Navy Base Realignment and Closure
properties.

Date of Govemment Version: 05/28/2014 Source: Department of the Navy
Number of Days to Update: 18 Telephone: 843-820-7326

TC GR 14

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Last EDR Contact 108/1 4/2014

MLTS: Materia| Licensing Tracking System
Standard Environmental Record Source: Other Standard Environmental Records
Search Distance: Property

MLTS is maintained by the Nuclear Regu|atory Commission and contains a list cf approximately 8,100 sites which possess or
use radioactive materials and which are subject to NRC licensing requirements. To maintain currency, EDR contacts the
Agency on a quarterly basis.

Date of Govemment Version: 07/22/2013 Source: Nuclear Regu|atory Commission
Number of Days to Update: 91 Telephone: 301-415-7169
Last EDR Contact :09/08/2014

NPL: National Priority List
Standard Environmental Record Source: Federai NPL
Search Distance: 0.333 Mile

National Priorities List (Superfund). The NPL is a subset of CERCL|S and identines over 1,200 sites for priority cleanup under
the Superfund Program. NPL sites may encompass relatively large areas. As such, EDR provides polygon coverage for over
1,000 NPL site boundaries produced by EPA's Environmental Photographic interpretation Center (EP|C) and regional EPA
ofhces.

Date of Govemment Version: 10/25/2013 Source: EPA

Number of Days to Update: 78 Telephone: Not Reported
Last EDR Contact :09/19/2014

NPL Site Boundaries

Sources:

EPA"s Environmental Photographic interpretation Center (EP|C)
Telephone: 202-566-0690

EPA Region 1
Telephone: 617-918-1102

EPA Region 2
Telephone: 212-637-4293

EPA Region 3
Telephone: 215-814-5418

EPA Region 4
Telephone: 404-562-8681

EPA Region 5
Telephone: 312-353-1063

EPA Region 6
Telephone: 214-655-6659

EPA Region 7
Telephone: 913-551-7247

EPA Region 8
Telephone: 303-312-6118

EPA Region 9
Telephone: 415-947-4579

EPA Region 10
Telephone: 206-553-4479

NPL LlENS: Federai Superfund Liens
Standard Environmental Record Source: Federai NPL
Search Distance: Property

TC GR 15

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Federai Superfund Liens. Under the authority granted the USEPA by CERCLA of 1980, the USEPA has the authority to file
liens against real pro rty in order to recover remedial action expenditures or when the property owner received notincation of
potential liability. US PA complies a listing of filed notices of Superfund Liens.

Date of Govemment Version: 10/15/1991 Source: EPA
Number of Days to Update: 56 Telephone: 202-564»4267
Last EDR Contact :08/15/2011

ODl: Open Dump inventory
Standard Environmental Record Source: Other Standard Environmental Records
Search Distance: 0.333 Mile

An open dump is defined as a disposal facility that does not comply with one or more of the Part 257 or Part 258 Subtitle D
Criteria.

Date of Govemment Version: 06/30/1985 Source: Environmental Protection Agency
Number of Days to Update: 39 Telephone: 800-424-9346
Last EDR Contact :06/09/2004

PADS: PCB Activity Database System
Standard Environmental Record Source: Other Standard Environmental Records
Search Distance: Property

PCB Activity Database. PADS identifies generators, transporters, commercial storers and/or brokers and disposers of PCB's
who are required to notify the EPA of such activities.

Date of Govemment Version: 06/01/2013 Source: EPA
Number of Days to Update: 107 Telephone: 202-566-0500
Last EDR Contact :07/18/2014

PCB TRANSFORMER: PCB Transformer Registration Database
Standard Environmental Record Source: Other Standard Environmental Records
Search Distance: Property

The database of PCB transformer registrations that includes all PCB registration submittals.

Date of Government Version: 02/01/2011 Source: Environmental Protection Agency
Number of Days to Update: 83 Telephone: 202-566-0517
Last EDR Contact :08/01/2014

Proposed NPL: Proposed National Priority List Sites
Standard Environmental Record Source: Federai NPL
Search Distance: 0.333 Mile

A site that has been proposed for listing on the Nationa|Priorities List through the issuance of a proposed rule in the Federai

Register.EPA then accepts public comments on the sitel responds to the comments,and places on the NPL those sites that
continue to meet therequirements for listing.

Date of Government Version: 10/25/2013 Source: EPA
Number of Days to Update: 78 Telephone: Not Reported
Last EDR Contact :09/19/2014

RAATS: RCRA Administrative Action Tracking System
Standard Environmental Record Source: Other Standard Environmental Records
Search Distance: Property

TC GR 16

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RCRA Administration Action Tracking System. RAATS contains records based on enforcement actions issued under RCRA
pertaining to major violators and includes administrative and civil actions brought b the EPA. For administration actions after
September 30, 1995. data entry in the RAATS database was discontinued. EPA wi l retain a copy of the database for historical
records. lt was necessary to terminate RAATS because a decrease in agency resources made it impossible to continue to
update the information contained in the database.

Date of Govemment Version: 04/17/1995 Source: EPA
Number of Days to Update: 35 Telephone: 202-564-4104
Last EDR Contact :06/02/2008

RAD|NFO: Radiation information Database
Standard Environmental Record Source: Other Standard Environmental Records
Search Distance: Property

The Radiation information Database (RAD|NFO) contains information about facilities that are regulated by U.S. Environmental
Protection Agency (EPA) regulations for radiation and radioactivity.

Date of Govemment Version: 07/07/2014 Source: Environmental Protection Agency
Number of Days to Update: 18 Telephone: 202-343-9775
Last EDR Contact :07/10/2014

RCRA NonGen / NLR: RCRA - Non Generators
Standard Environmental Record Source: Other Standard Environmental Records
Search Distance: Property

RCRA|nfo is EPA's comprehensive information system, providing access to data supporting the Resource Conservation and
Recovery Act (RCRA) of 1976 and the Hazardous and Solid Waste Amendments (HSWA) of 1984. The database includes
selective information on sites which generate, transport, storel treat and/or dispose of hazardous waste as defined by the
Resource Conservation and Recovery Act (RCRA). Non-Generators do not presently generate hazardous waste,

Date of Govemment Version: 06/10/2014 Source: Environmental Protection Agency
Number of Days to Update: 78 Telephone: 703-308-8895
Last EDR Contact :10/01/2014

RCRA-CESQG: RCRA - Conditionally Exempt Small Quantity Generators
Standard Environmental Record Source: Federai RCRA generators list
Search Distance: Property

RCRA|nfo is EPA's comprehensive information system, providing access to data supporting the Resource Conservation and
Recovery Act (RCRA) of 1976 and the Hazardous and Solid Waste Amendments (HSWA) of 1984. The database includes
selective information on sites which generate, trans§ort. store, treat and/or dispose of hazardous waste as defined by the
Resource Conservation and Recovery Act (RCRA). onditionally exempt small quantity generators (CESQGs) generate less
than 100 kg of hazardous waste, or less than 1 kg of acutely hazardous waste per month.

Date of Govemment Version: 06/10/2014 Source: Environmental Protection Agency
Number of Days to Update: 78 Telephone: 703-308-8895
Last EDR Contact :10/01/2014

RCRA-LQG: RCRA - Large Quantity Generators
Standard Environmental Record Source: Federai RCRA generators list
Search Distance: Property

RCRA|nfo is EPA's comprehensive information system, providing access to data supporting the Resource Conservation and
Recovery Act (RCRA) of 1976 and the Hazardous and Solid Waste Amendments (HSWA) of 1984. The database includes
selective information on sites which generate, transport, store, treat and/or dispose of hazardous waste as defined by the
Resource Conservation and Recovery Act (RCRA). Large quantity generators (LQGs) generate over 1,000 kilograms (kg) of
hazardous waste, or over 1 kg of acutely hazardous waste per month.

Date of Government Version: 06/10/2014 Source: Environmental Protection Agency
Number of Days to Update: 78 Telephone: 703-308-8895

TC GR 17

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Last EDR Contact :10/01/2014

RCRA-SQG: RCRA - Small Quantity Generators
Standard Environmental Record Source: Federai RCRA generators list
Search Distance: Property

RCRA|nfo is EPA's comprehensive information system. §roviding access to data supporting the Resource Conservation and
Recovery Act (RCRA) of 1976 and the Hazardous and olid Waste Amendments (HSWA) of 1984. The database includes
selective information on sites which generate, transport, store, treat and/or dispose of hazardous waste as denned by the
Resource Conservation and Recovery Act (RCRA). Small quantity generators (SQGs) generate between 100 kg and 1,000 kg
of hazardous waste per month.

Date of Govemment Version: 06/10/2014 Source: Environmental Protection Agency
Number of Days to Update: 78 Telephone: 703-308-8895
Last EDR Contact :10/01/2014

RCRA-TSDF: RCRA - Treatment, Storage and Disposal
Standard Environmental Record Source: Federai RCRA TSD facilities list
Search Distance: 0.333 Mile

RCRA|nfo is EPA's comprehensive information system, providing access to data supporting the Resource Conservation and
Recovery Act (RCRA) of 1976 and the Hazardous and Solid Waste Amendments (HSWA) of 1984. The database includes
selective information on sites which generate, transport, store, treat and/or dispose of hazardous waste as defined by the
Resource Conservation and Recovery Act (RCRA). Transporters are individuals or entities that move hazardous waste from
the generator offsite to a facility that can recycle, treat, store, or dispose of the waste. TSDFs treat, store, or dispose of the
waste.

Date of Govemment Version: 06/10/2014 Source: Environmental Protection Agency
Number of Days to Update: 78 Telephone: 703-308-8895
Last EDR Contact :10/01/2014

ROD: Records Of Decision
Standard Environmental Record Source: Federai NPL
Search Distance: 0.333 Mile

Record of Decision. ROD documents mandate a permanent remedy at an NPL (Superfund) site containing technical and
health information to aid in the cleanup.

Date of Govemment Version: 11/25/2013 Source: EPA
Number of Days to Update: 74 Telephone: 703-416-0223
Last EDR Contact :09/09/2014

SCRD DRYCLEANERS: State Coalition for Remediation of Drycleaners Listing
Standard Environmental Record Source: Other Standard Environmental Records
Search Distance: 0.333 Mile

The State Coalition for Remediation of Drycleaners was established in 1998, with su port from the U.S. EPA Office of
Superfund Remediation and Technology lnnovation. lt is comprised of representatives o states with established drycleaner
remediation programs. Currentiy the member states are Alabama, Connecticut, Florida, lllinois, Kansas, Minnesota, Missouri,
North Caro|ina, Oregon, South Caro|ina, Tennessee. Texas. and Wisconsin.

Date of Govemment Version: 03/07/2011 Source: Environmental Protection Agency
Number of Days to Update: 54 Telephone: 615-532-8599
Last EDR Contact :07/25/2014

SSTS: Section 7 Tracking Systems
Standard Environmental Record Source: Other Standard Environmental Records
Search Distance: Property

TC GR 18

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Section 7 of the Federai insecticidel Fungicide and Rodenticide Act. as amended (92 Stat. 829) requires all registered
pesticide-producing establishments to submit a report to the Environmental Protection Agency by March 1st each year. Each
establishment must report the types and amounts of pesticides, active ingredients and devices being produced, and those
having been produced and sold or distributed in the past year.

Date of Government Version: 1 2131/2009 Source: EPA
Number of Days to Update: 77 Telephone: 202-564-4203
Last EDR Contact :07/22/2014

TRlS: Toxic Chemica| Release inventory System
Standard Environmental Record Source: Other Standard Environmental Records
Search Distance: Property

Toxic Release inventory System. TR|S identihes facilities which release toxic chemicals to the air, water and land iri reportable
quantities under SARA Title ill Section 313.

Date of Govemment Version: 12/31/2011 Source: EPA
Number of Days to Update: 44 Telephone: 202-566-0250
Last EDR Contact :08/29/2014

TSCA: Toxic Substances Control Act
Standard Environmental Record Source: Other Standard Environmental Records
Search Distance: Property

Toxic Substances Control Act. TSCA identifies manufacturers and importers of chemical substances included on the TSCA
Chemica| Substance inventory list. lt includes data on the production volume of these substances by plant site.

Date of Govemment Version: 12/31/2006 Source: EPA
Number of Days to Update: 64 Telephone: 202-260-5521
Last EDR Contact :09/26/2014

UMTRA: Uranium Mi|l Tailings Sites
Standard Environmental Record Source: Other Standard Environmental Records
Search Distance: 0.333 Mile

Uranium ore was mined by private companies for federal government use in national defense programs. When the mills shut
down, large piles of the sand-like material (mill tailings) remain after uranium has been extracted from the ore. Levels of human
exposure to radioactive materials from the piles are low; howeverl in some cases tailings were used as constniction materials
before the potential health hazards of the tailings were recognized.

Date of Govemment Version: 09/14/2010 Source: Department of Energy
Number of Days to Update: 146 Telephone: 505-845-0011
Last EDR Contact :08/20/2014

US A|RS (AFS): Aerometric information Retrieval System Facility Subsystem (AFS)
Standard Environmental Record Source: Other Standard Environmental Records
Search Distance: Property

The database is a sub-system of Aerometric information Retn`eva| System (A|RS). AFS contains compliance data on air
pollution point sources regulated by the U.S. EPA and/or state and local air regulatory agencies. This information comes from
source reports by various stationary sources of air pollution, such as electric power plants, steel milis, factories, and
universities, and provides information about the air po lutants they produce. Action, air program, air program poilutant, and
general level plant data. lt is used to track emissions and compliance data from industrial piants.

Date of Govemment Version: 10/23/2013 Source: EPA
Number of Days to Update: 30 Telephone: 202-564-2496
Last EDR Contact :09/29/2014

US AlRS MlNOR: Air Facility System Data

TC GR 19

